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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

IN RE:                                        CASE NO.: 22-50057-KKS
                                              CHAPTER 13
JOEL W. BARLOW
PEARL V. BARLOW

      Debtor(s)                           /


                    CHAPTER 13 TRUSTEE'S
               OBJECTION(S) TO CONFIRMATION OF
           THIRD AMENDED CHAPTER 13 PLAN (ECF NO. 78)

      COMES NOW, LEIGH DUNCAN GLIDEWELL, Chapter 13 Trustee, by

and through her undersigned attorneys, and hereby objects to confirmation of

Debtor(s)' Third Amended Chapter 13 Plan (ECF No. 78) for the following reasons:

      1.    The Plan provides an approximate distribution of twelve percent (12%).

      2.    The Plan provides for the Debtor(s) to surrender the 2013 Can Am

Spyder Motorcycle to OneMain Financial.         The Trustee intends to pay the

established unsecured deficiency portion of the filed Proof of Claim absent an

objection to same.

      3.    The Plan is not signed, as required.
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      RESPECTFULLY SUBMITTED.


                                 /s/Leigh Duncan Glidewell
                                   OFFICE OF CHAPTER 13 TRUSTEE
                                   POST OFFICE BOX 646
                                   TALLAHASSEE, FL 32302
                                   ldhecf@earthlink.net
                                   (850) 681-2734 "Telephone"
                                   (850) 681-3920 "Facsimile"

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing has

been furnished by the court's current CM/ECF notice of electronic filing or first

class mail to:

JOEL W. BARLOW                         PEARL V. BARLOW
498 QUAIL HOLLOW BLVD                  498 QUAIL HOLLOW BLVD.
CHIPLEY, FL 32428                      CHIPLEY, FL 32428

BROOKS R SIEGEL
BANKRUPTCY LAW GROUP, PLLC
3323 NE 163RD STREET #504
NORTH MIAMI BEACH, FL 33160

on the same date as reflected on the Court's docket as the electronic filing date for

this document.


                                 /s/Leigh Duncan Glidewell
                                   OFFICE OF CHAPTER 13 TRUSTEE
